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                     IN THE UNITED STATES BANKRUPTCY COURT
                          FOR THE DISTRICT OF DELAWARE

                                        )
In re                                   )                   Chapter 11
                                        )
TOUGH MUDDER INC., et al., 1            )                   Case No. 20-10036 (CSS)
                                        )
                Debtors.                )                   Jointly Administered
                                        )
                                        )                   Objection Deadline:
                                        )                   March 16, 2020, at 4:00 p.m. (EDT)
                                        )                   Hearing Date:
                                        )                   March 23, 2020, at 2:00 p.m. (EDT)
                                        )
_______________________________________ )

        CHAPTER 11 TRUSTEE’S APPLICATION FOR ENTRY OF AN ORDER
         UNDER SECTIONS 327(a) AND 328(a) OF THE BANKRUPTCY CODE,
          BANKRUPTCY RULES 2014 AND 2016, AND LOCAL RULE 2014-1
        AUTHORIZING RETENTION AND EMPLOYMENT OF VERDOLINO &
        LOWEY, P.C. AS ACCOUNTANT AND FINANCIAL ADVISOR FOR THE
                TRUSTEE NUNC PRO TUNC TO FEBRUARY 2, 2020

                Derek C. Abbott, Esq., the chapter 11 trustee (the “Trustee”) for Tough Mudder

Inc. (“Tough Mudder”) and Tough Mudder Event Production Inc. (“TM Events” and, together

with Tough Mudder, the “Debtors”), in the above-captioned chapter 11 cases (the “Chapter 11

Cases”) submits this application (the “Application”) for entry of an order (the “Proposed

Order”), substantially in the form attached hereto as Exhibit A, pursuant to sections 327(a) and

328(a) of title 11 of the United States Code (the “Bankruptcy Code”), rules 2014 and 2016 of the

Federal Rules of Bankruptcy Procedure (the “Bankruptcy Rules”), and rule 2014-1 of the Local

Rules of Bankruptcy Practice and Procedure of the United States Bankruptcy Court for the

District of Delaware (the “Local Rules”), authorizing the retention and employment of Verdolino

& Lowey, P.C. (“Verdolino”), as accountant and financial advisor for the Trustee nunc pro tunc

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        The Debtors in these chapter 11 cases, along with the last four digits of each Debtor’s federal tax
        identification number, are: Tough Mudder Inc. (2576) and Tough Mudder Event Production Inc. (6845).
        The Debtors’ address is 15 MetroTech Center, Brooklyn, NY 12201.
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to February 2, 2020. In support of the Application, the Trustee relies upon and incorporates by

reference the Declaration of Craig R. Jalbert in Support of Chapter 11 Trustee’s Application for

Entry of an Order Under Sections 327(a) and 328(a) of the Bankruptcy Code, Bankruptcy Rules

2014 and 2016, and Local Rule 2014-1 Authorizing Retention and Employment of Verdolino &

Lowey, P.C. as Accountant and Financial Advisor for the Trustee Nunc Pro Tunc to February 2,

2020 (the “Jalbert Declaration”), attached hereto as Exhibit B.         In further support of the

Application, the Trustee respectfully states as follows:

                                        JURISDICTION

               1.      The Court has jurisdiction over this matter pursuant to 28 U.S.C. §§ 157

and 1334 and the Amended Standing Order of Reference from the United States District Court

for the District of Delaware, dated as of February 29, 2012. Venue is proper pursuant to 28

U.S.C. §§ 1408 and 1409. This is a core proceeding pursuant to 28 U.S.C. § 157(b)(2).

               2.      Pursuant to Local Rule 9013-1(f), the Trustee consents to the entry of a

final order by the Court in connection with this Application to the extent that it is later

determined that the Court, absent consent of the parties, cannot enter final orders or judgments in

connection herewith consistent with Article III of the United States Constitution.

               3.      The statutory bases for the relief requested herein are sections 327(a) and

328(a) of the Bankruptcy Code, as supplemented by Bankruptcy Rules 2014(a) and 2016 and

Local Rule 2014-1.

                                        BACKGROUND

               4.      On January 7, 2020 (the “Petition Date”), Valley Builders LLC,

Trademarc Associates, Inc., and David Watkins Homes Inc. filed involuntary petitions under

chapter 11 of the Bankruptcy Code against Tough Mudder and TM Events.




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               5.     A more detailed description of the Debtors’ business, corporate structure,

prepetition indebtedness, and events leading to the bankruptcy filings is set forth in the

Declaration of Kyle McLaughlin in Support of Chapter 11 Trustee’s Motion for Entry of an

Order (I) Approving Entry Into and Performance Under Asset Purchase Agreement by and

Among Spartan Race, Inc., and Debtors’ Chapter 11 Trustee, (II) Authorizing the Sale of

Substantially All of the Debtors’ Assets Free and Clear of All Liens, Claims, Encumbrances, and

Interests, (III) Approving the Assumption and Assignment of Certain Contracts and Related

Procedures, (IV) Approving the Bid Protections, and (V) Granting Related Relief (the

“McLaughlin Declaration”). 2 This Application incorporates by reference the facts set forth in

the McLaughlin Declaration as if fully set forth herein.

               6.     On January 21, 2020, the Court entered the Order Directing the

Appointment of a Chapter 11 Trustee [D.I. 18]. The Court entered an order approving the

appointment of the Trustee on January 30, 2020 (the “Appointment Date”) [D.I. 24], and the

Trustee accepted his appointment on January 31, 2020 [D.I. 25]. Since that time, the Trustee has

managed the Debtors’ affairs pursuant to section 1106 of the Bankruptcy Code. No official

committee has been appointed in the Chapter 11 Cases.

                                     RELIEF REQUESTED

               7.     By this Application, the Trustee respectfully requests entry of an order,

substantially in the form attached hereto as Exhibit A, pursuant to sections 327(a) and 328(a) of

the Bankruptcy Code, Bankruptcy Rules 2014 and 2016, and Local Rule 2014-1, authorizing the

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       The McLaughlin Declaration is attached as Exhibit C to the Chapter 11 Trustee’s Motion for
       Entry of an Order (I) Approving Entry Into and Performance Under Asset Purchase Agreement
       by and Among Spartan Race, Inc., and Debtors’ Chapter 11 Trustee, (II) Authorizing the Sale of
       Substantially All of the Debtors’ Assets Free and Clear of All Liens, Claims, Encumbrances, and
       Interests, (III) Approving the Assumption and Assignment of Certain Contracts and Related
       Procedures, (IV) Approving the Bid Protections, and (V) Granting Related Relief [D.I. 30].


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Trustee to retain and employ Verdolino as accountant and financial advisor nunc pro tunc to

February 2, 2020.

                                          BASIS FOR RELIEF

                 8.         Under section 327(a) of the Bankruptcy Code, a trustee may employ one

or more accountants or other professionals to represent the trustee in carrying out the trustee’s

duties under the Bankruptcy Code, provided that such accountants or other professionals are

disinterested persons and do not hold or represent an interest adverse to the estate. 11 U.S.C. §

327(a) (2018). Section 101(14) of the Bankruptcy Code defines “disinterested person” as one

who

                            (A) is not a creditor, an equity security holder, or an
                 insider;

                         (B) is not and was not, within 2 years before the date of the
                 filing of the petition, a director, officer, or employee of the debtor;
                 and

                         (C) does not have an interest materially adverse to the
                 interest of the estate or of any class of creditors or equity security
                 holders, by reason of any direct or indirect relationship to,
                 connection with, or interest in, the debtor, or for any other reason.


Id. § 101(14).

                 9.         The Trustee has engaged Verdolino as accountant and financial advisor in

connection with his appointment.

                 10.        The Trustee seeks to retain and employ Verdolino because Verdolino and

its professionals have extensive experience and an excellent reputation for providing high-quality

accounting and financial advisory services to various parties in large and complex chapter 11

cases, including trustees, debtors, and unsecured creditor committees. Verdolino possesses and

will continue to develop knowledge of the Debtors’ financial history and business operations and



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is well-suited to provide the Trustee with the services contemplated herein. Further, the services

described below are necessary in the Chapter 11 Cases. For these reasons, Verdolino is well-

qualified to represent the Trustee as accountant and financial advisor.

               11.     The Trustee requests approval of the employment of Verdolino nunc pro

tunc to February 2, 2020, which is the day the Trustee retained Verdolino. Nunc pro tunc relief

is warranted in these cases. The Third Circuit has identified “time pressure to begin service” and

absence of prejudice as factors favoring nunc pro tunc retention. See In re Arkansas Co., 798

F.2d 645, 650 (3d Cir. 1986); see also Indian River Homes, Inc. v. Sussex Tr. Co., 108 B.R. 46,

52 (D. Del. 1989).

                             VERDOLINO’S QUALIFICATIONS

               12.     Verdolino is a leading full-service accounting firm headquartered in

Foxboro, Massachusetts, offering services related to, without limitation, bankruptcy and

insolvency, forensic accounting and computing, tax compliance, and financial management.

Verdolino and its principals have been involved in over 7,500 cases, including over 500 chapter

11 cases.   The Trustee seeks to retain Verdolino because of its professionals’ significant

experience in providing accounting, tax, and financial advisory services on behalf of parties

involved in chapter 11 cases throughout the United States.

               13.     As set forth more fully in the Jalbert Declaration, Verdolino was engaged

on February 2, 2020, to provide accounting, tax, and financial advisory services to the Trustee.

As a result of conversations with the Trustee and his proposed counsel, and having assisted in the

Chapter 11 Cases since February 2, 2020, Verdolino has become familiar with the Debtors’

business and is well-suited to provide the Trustee with the services contemplated by the

Application and Proposed Order.




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                     SERVICES TO BE PROVIDED BY VERDOLINO

               14.    The Trustee believes that the services of Verdolino are necessary to enable

him to faithfully execute his duties as chapter 11 trustee. Subject to further order of this Court,

and consistent with the terms of the Application and Proposed Order, Verdolino will perform the

following professional services, as the Trustee deems appropriate, for or on behalf of the Trustee

in the Chapter 11 Cases:

                      a.      Prepare federal, state, and local income, sales and use and payroll
                              and other tax returns and related documentation for all currently
                              unfiled returns as well as returns that become due during the
                              Trustee’s appointment;

                      b.      Perform any accounting and bookkeeping services necessary for
                              the preparation of tax returns and other case requirements such as
                              the Office of the United States Trustee’s required Monthly
                              Operating Reports;

                      c.      Assist in preparing the Debtors’ Statements of Financial Affairs
                              and Schedules;

                      d.      Assist with preparation and/or review of cash flow and related
                              budget projections and including advising as to post-filing
                              financing;

                      e.      Assist the Trustee in reviewing and analyzing prospective sale
                              proposals and related services;

                      f.      Assist with review and analysis of the Debtors’ business and their
                              operations;

                      g.      Assist with regard to accounting and accounting system matters;

                      h.      Assist in reviewing, reconciling, analyzing and, if necessary,
                              objecting to proofs of claim;

                      i.      Assist in reviewing the Debtors’ books and records for possible
                              avoidable transactions such as preference and fraudulent transfer
                              claims including, but not limited to, under Bankruptcy Code
                              Sections 547 and 548;

                      j.      Assist in valuation and insolvency analyses and other litigation
                              issues and, if necessary, expert report preparation and testimony;



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                        k.      Assist with plan development and preparation, if any, including
                                feasibility;

                        l.      Assist with employee benefit plan issues, including 401k plans;

                        m.      Assist in obtaining and retaining and preserving electronic and
                                paper records necessary for the administration of the cases;

                        n.      Provide general financial advisory services and consulting and
                                assistance with other related matters as may be directed by the
                                Trustee, Trustee’s proposed counsel, or the Court; and

                        o.      Provide testimony in court on behalf of the Trustee with respect to
                                any of the foregoing, if necessary.

                15.     Verdolino will work with the Trustee’s other professionals to avoid

unnecessary duplication of efforts and to represent the Trustee in an efficient and cost-effective

manner.

                16.     Verdolino’s services are necessary for the Trustee to perform his duties in

this matter. The Trustee requires qualified professionals to render these essential professional

services.   As noted above, Verdolino has substantial expertise in all areas for which it is

proposed to be retained. Accordingly, the Trustee believes that Verdolino is well-qualified to

perform these services in the Chapter 11 Cases.

                17.     The Trustee believes that Verdolino’s employment is in the best interests

of the Debtors, their estates, and their creditors.

                18.     Subject to this Court’s approval of the Application, Verdolino is willing to

serve as the Trustee’s accountant and financial advisor and to perform the services described

above.

                             VERDOLINO’S DISINTERESTEDNESS

                19.     To the best of the Trustee’s knowledge, information, and belief, and

except as otherwise set forth herein and in the Jalbert Declaration: (i) Verdolino is a




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“disinterested person” within the meaning of section 101(14) of the Bankruptcy Code, as

required by section 327(a) of the Bankruptcy Code and does not hold or represent any interest

adverse to the Debtors’ estates; and (ii) Verdolino has no connection to the Debtors, their

creditors, or related parties, except as may be disclosed in the Jalbert Declaration.

               20.     Verdolino will review its files against any updated Potential Interested

Parties List (as defined in the Jalbert Declaration) received from the Trustee from time to time

during the pendency of the Chapter 11 Cases pursuant to the procedures described in the Jalbert

Declaration. If any new relevant facts or relationships are discovered or arise in such review,

Verdolino will use reasonable efforts to identify such further developments and will file

promptly a supplemental declaration where appropriate.

               21.     Verdolino provided no services prior to the Appointment Date, as such

Verdolino is not a creditor of the Debtors’ bankruptcy estates as of the Petition Date.

               22.     Further, as stated in the Jalbert Declaration, Verdolino is a “disinterested

person” within the meaning of section 101(14) of the Bankruptcy Code, as required by section

327(a) of the Bankruptcy Code, and does not hold or represent an interest adverse to the Trustee

or the Debtors’ estates and has no connection to the Trustee, the Debtors, their creditors, or

related parties except as may be disclosed in the Jalbert Declaration.

                             PROFESSIONAL COMPENSATION

               23.     As set forth in the Jalbert Declaration, the Trustee retained Verdolino on

February 2, 2020.

               24.     Except as set forth in the Jalbert Declaration, Verdolino has not been paid

any other compensation by the Trustee, the Debtors, or the Debtors’ estates in connection with

the Chapter 11 Cases, and Verdolino is not a creditor of the Debtors.




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               25.     Subject to this Court’s approval, the Trustee and Verdolino have agreed

that Verdolino will bill at its standard hourly rates in consideration for the services to be rendered

and the expenses to be incurred, as set forth below, by Verdolino in the Chapter 11 Cases (the

“Fee and Expense Structure”).

               26.     Craig R. Jalbert, whose standard hourly rate is $485.00, will have primary

responsibility for the services to be provided by Verdolino in the Chapter 11 Cases. Donald M.

Swanson will be directing the day-to-day services Verdolino will provide to the Trustee and his

standard hourly rate is $375.00. Both Mr. Jalbert and Mr. Swanson have over 30 years of similar

experience. The standard hourly rates of other Verdolino professionals range from $225.00 to

$425.00 per hour. Verdolino reviews and adjusts its hourly rates in September of each year.

               27.     The Trustee has agreed to reimburse Verdolino for all necessary out-of-

pocket expenses, including, but not limited to, travel, telecommunications, photocopying,

postage, and delivery expenses. In addition, with notice given to the Office of the United States

Trustee and at the request of the Trustee, Verdolino is advancing up to $40,000 of costs related

to retaining, as independent contractors, the services of former employees of the Debtors to assist

the Trustee. The invaluable institutional knowledge provided by the services of these former

employees will significantly reduce the overall cost of the Chapter 11 Cases.

               28.     Verdolino’s professionals maintain time records of services performed,

detailing the amount of time spent, the work performed, and the total amount charged.

               29.     The Fee and Expense Structure described above is comparable to

compensation generally charged by financial advisors, accountants, and tax services providers

for similar engagements, both in and out of court. The Fee and Expense Structure is also

consistent with Verdolino’s normal and customary billing practices for cases of this size and




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complexity that require the level and scope of services outlined. Verdolino and the Trustee

believe that the Fee and Expense Structure is reasonable and at favorable market rates.

               30.     Verdolino has not shared or agreed to share any compensation to be paid

by the Trustee with any other person, other than other principals and employees of Verdolino, in

accordance with section 504 of the Bankruptcy Code.

               31.     Verdolino intends to apply to the Court for allowance of compensation

and reimbursement of expenses consistent with the applicable provisions of the Bankruptcy

Code, the Bankruptcy Rules, the Local Rules, and orders of the Court.

               32.     The Trustee requests that Verdolino be permitted to submit monthly

invoices or fee application as the Court shall determine.

               33.     The Trustee believes that the Fee and Expense Structure is reasonable and

should be approved by the Court under section 328(a) of the Bankruptcy Code in light of: (a) the

nature of services to be provided by Verdolino; (b) Verdolino’s substantial experience with

respect to services delivered in the bankruptcy context; (c) fee and expenses provisions typically

utilized by Verdolino and other similar accountants; and (d) the complexity and scope of work

anticipated to be performed by Verdolino in connection with the Chapter 11 Cases.

                                     INDEMNIFICATION

               34.     The Trustee and Verdolino have not agreed to any indemnification

provisions.

                                            NOTICE

               35.     No creditors’ committee or examiner has been appointed in the Chapter 11

Cases. A copy of this Application will be served via hand delivery, first-class mail, and/or

electronic mail, where available and as applicable, upon: (a) the Office of the United States




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Trustee for the District of Delaware; (b) the Debtors’ 20 largest unsecured creditors on a

consolidated basis; and (c) any other party that has requested notice pursuant to Local Rule

2002-1(b). The Trustee submits that, in light of the nature of the relief requested, no other or

further notice need be provided.

              WHEREFORE, the Trustee respectfully requests that the Court: (i) grant this

Application and the relief requested herein; (ii) enter the Proposed Order attached hereto as

Exhibit A; and (iii) grant such other and further relief as it deems just and proper.


Dated: March 2, 2020
                                              /s/ Derek C. Abbott
                                              Derek C. Abbott
                                              Chapter 11 Trustee for Tough Mudder Inc. and
                                              Tough Mudder Event Production Inc.




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